
Nicholson, C. J.,
delivered the opinion of the Court.
D. "Vh Alexander held a note on C. T. Love in March, 1865, which was paid off by Love and taken up. In payment, Love let Alexander have a five hundred dollar bank bill on the Bank of Tennessee, issued in October, 1861. Alexander deposited this bill with complainant John Crockett for the loan of that amount of other money, but with the understanding that Alexander was to redeem it. Alexander failed to redeem it, and Crockett files his bill to make Love responsible for the note, on the ground that it was illegally issued and worthless when he paid it to Alexander.
The complainant must fail on two distinct grounds:
First. If the bank bill were worthless, and constituted no payment of Love’s note to Alexander, yet Crockett has no right of action against Love, there being no privity between Love and Crockett, and no contract expressed or implied.
*108Second. We have held in several causes that payments made in the notes of the Bank of Tennesse, issued after the commencement of the war, were good and valid in transactions between citizens unaffected by fraud or duress. The payment made by Love to Alexander was a discharge of the debt, and Alexander has no right of action against Love, much . less has Crockett, to whom Alexander transferred the note.
The decree is reversed, and the bill dismissed with costs.
